Anne f. Mutugan
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| T CLERK, U.S. RiSTYRic? COURT

ANCHORAGE, AK.

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA

Ame Debi ga Maligen _,

‘(Enter full name of plaintiff in this action) . ,
Case No.

 

 

Plaintiff, (To be supplied by Court)
vs.
Munrecpan ny Ah preroraiey COMPLAINT UNDER _
THE CIVIL RIGHTS ACT
APD , 42 U.S.C..§ 1983

 

(NON-PRISONERS)
(Enter full names of defendant(s) in this action.
Do NOT use ez ai.)

Defendant(s).

A. Jurisdiction

Jurisdiction is invoked under 28 U.S.C. § 1343(a)(3) and 42 U.S.C. § 1983: If you
assert jurisdiction under any different or additional authorities, please list them below:

 

B. Parties

 

1. Plaintiff: This complaint alleges that the civil rights of Ann. PAtn Oa Wali gaw
(print your name)

who presently resides at 4. Ans (AFE tol & ae Pre. Prensa ye Abe Osu

(mailing address)

were violated by the actions of the individual(s) named below.

Case 3:19-cv-00119-RRB Document1 Filed 04/19/19 Page 1 of 7
2. Defendants (Make a copy of this page and provide same information if you are naming more than 3
defendants): :

Defendant No. 1, Whi. mare. pole. ‘obhar is a citizen of

 

 

(name)
M1 SA , and is employed asa_AYVO Pei. ofr er
(state) : (defendant's government position/titie)

This defendant personally participated in causing my injury, and | want money
damages. 7

OR .

_—% The policy or custom of this official's government agency violates my rights, and |
seek injunctive relief (to stop or require someone do something).

 

 

 

Defendant No. 2,_ inde, mey. Wirt. of Ale C is a citizen of.
(name) a

Qiasia , and is employed asa_APe Pelt offs

. (state) (defendant's government positionsttle)

 

This defendant personally participated in causing my injury, and | want money
damages.

OR .
kh. The policy or custom of this official's government agency violates my rights, and |
seek injunctive relief (to stop or require someone do something). 7

 

 

Defendant No. 3,_lonite. om pope fllice bf Fie is a citizen of
(name) ;
AVeh pe , and'is employed asa_APp Pllrw sFfiaer
(state) (defendant's government positionttitle)

 

This defendant personally participated in causing my injury, and | want money
- damages. .
OR

[-_lhe policy or custom of this officials government agency violates my rights, and |
seek injunctive relief (to stop or require someone do something).

C. Causes of Action (You may attach additional pages alleging other causes of action and facts
supporting them if necessary. Make copies of page 5 and rename them pages 5A, 58, etc. and rename
the claims, “Claim 4,” "Claim 5, etc.”),

PS02 — § 1983 Non-Prisoner
Dec. 2013
Page 2 of 7

Case 3:19-cv-00119-RRB Document1 Filed 04/19/19 Page 2 of 7
Claim_1: On or about . Al) 2 [619 , my civil right to
(Date)
Fizz tom From Ctl Ar try, fi Rh, PUI Sn MET

(due process, freedom of religion, free speech, freedom of association and/or assembly, freedom from cruel and
unusual punishment, ete. List only one violation.)

was Violated by Ah de. LAY, Ata offfee te
(Name of the specific Defendant who violated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 1. State what
happened briefly and Clearly, in your own words. Do not cite legal authority or argument.
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 1,):

 

 

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PS02 — § 1983 Non-Prisoner
Dec. 2013
Page 3 of 7

Case 3:19-cv-00119-RRB Document1 Filed 04/19/19 Page 3 of 7
Claim 2: On or about _ 4}; 7/2019 , my civil right to
(Date)
fite don fom Cnet * unbseel Par snmo
(due process, freedom of religion, free speech, freedom of association and/or assembly, freedom from cruel and
unusual punishment, etc. List only one violation.)

was violated by lLodkhe Lk bade =a Dp of Fue
(Name of the specific Defendant who violated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 2. State what
happened briefly and clearly, in your own words. Do: not cite legal authority or argument.
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 2.):

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Case 3:19-cv-00119-RRB Document 1 Filed 04/19/19 Page 4 of 7
, &

Claim_3: On or about 44) 9 le01) __ , my civil right to
(Date)

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(due process, freedom of religion, free speech, freedom of association and/or assembly, freedom from cruel and
unusual punishment, etc. List only one violation.)

was violated by WuUK Mpte. APN oF Aare

(Name of the specific Defendant who violated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 3. State what

happened briefly and clearly, in your own words. Do not cite legal authority or argument.
Maenriha avanth: what aach dafandant bkuenama did ta vinlata the rinht allanad in Claim 3,y

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_ Dec. 2013
Page 5 of 7

Case 3:19-cv-00119-RRB Document1 Filed 04/19/19 Page 5 of 7
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D. Previous Lawsuits

1. Have you begun other lawsuits in state or federal court dealing with the same facts
involved in this action, or otherwise relating to your imprisonment?__—s Yes__—sNo

2. If your answer is “Yes,” describe each lawsuit.

a. Lawsuit 1: |

Plaintifis):_ Jaane ?. mutts gan

Defendant(s) Mu nicer @Ati be) of Atrerag. /A?

Name and location of court: Qe perier Cr pl Art ters
Docket number: An- Wee Name of judge: ffs ke Uends Se
Approximate date case was filed: 2[eil| 4 Date of final decision:
Disposition: _____Dismissed _____Appealed __ Still pending
Issues Raised: hake Ones Allempkd mu nH
b. Lawsuit 2: | | : |
Plaintiff(s):___-_ An. ft Kee tl. Sa

Defendant(s): Flure. [Afr #4 if ot Are or ad

Name and location of court: Seimrpr Con sk Are perere
Docket number: An (102.7 Name of judge: fm ke bund WS &

 

Approximate date case was filed: Date of final decision:
Disposition: Dismissed - Appealed *—-__ Still pending
Issues Raised: Mone CNet | Lille mpl Ne (he

F,. Request for Relief
Plaintiff requests that this Court grant the following relief:
1. Damages in the amount of $ So muito doilas

PS02 — § 1983 Non-Prisoner
Dec. 2013
Page 6 of 7

Case 3:19-cv-00119-RRB Document1 Filed 04/19/19 Page 6 of 7
’

2. Punitive damages in the amount of $ 5Oravition a oi IAs

3. An order requiring defendant(s) to Go yA + PY feshtet eA
4. A declaration that LAL LA cx SS kepamane d fy fae i

5. Other: We le 42 Chen trom to fre A anh le J kitte Aetbefe rally
ket. nln led Oroncic hilil 747, “LU, birtsler, cHemn
Plaintiff demands a trialby jury. ¢ Yes No

 

DECLARATION UNDER PENALTY OF PERJURY

The undersigned declares under penalty of perjury that s/he is the plaintiff
in the above action, that s/he has read the above civil rights complaint and.
that the information contained in the complaint-is true and-correct.

Executed atArthora yA. on_ 41 1§/501 5
(Location) (Date)

4 IVA“. f. Lietle pe

(Plaintiff's Original Signature)

Han, f megan (ese | 4-1£. 2012
~ Original Signature of Attorney (ifany) (Date)

 

Beem) CARE
Woe ZAAE A14 3953;
907 Th Sur

Attorney's Address and Telephone Number

- PS02 - § 1983 Non-Prisone

Dec. 2013
Page 7 of 7

Case 3:19-cv-00119-RRB Document.1 Filed 04/19/19 Page 7 of 7
